      Case 7:19-cv-00373 Document 11 Filed on 12/17/19 in TXSD Page 1 of 3



                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION


 PAUL VALLE a/k/a PABLO VALLE, JR.,
                                                             7:19-cv-00373
             Plaintiff,

 v.                                                   Honorable Micaela Alvarez

 DIVERSIFIED ADJUSTMENT SERVICE,
 INC.,

             Defendant.


                             PLAINTIFF’S MOTION FOR LEAVE
                           TO FILE FIRST AMENDED COMPLAINT

       NOW comes PAUL VALLE a/k/a PABLO VALLE, JR. (“Plaintiff”), by and through his

attorneys, Sulaiman Law Group, Ltd. (“Sulaiman”), and pursuant to Fed. R. Civ. P. 15(a)(2),

respectfully bringing this Motion for Leave to File First Amended Complaint, and in support

thereof, states as follows:

       1.      On October 28, 2019, Plaintiff filed his Complaint seeking redress for alleged

violations of the Fair Debt Collection Practices Act (“FDCPA”), the Bankruptcy Discharge

Injunction (“Discharge Injunction”), and the Texas Debt Collection Act (“TDCA”). [Dkt #1].

       2.      Through their respective counsels, the parties have exchanged information and

documents relevant to Plaintiff’s claims.

       3.      Upon full consideration of the documents disclosed by Defendant, Plaintiff wishes

to amend his original Complaint to address purported deficiencies set forth by Defendant and

additional claims Plaintiff has under the FDCPA.



                                               1
         Case 7:19-cv-00373 Document 11 Filed on 12/17/19 in TXSD Page 2 of 3



          4.    Pursuant to Fed. R. Civ. Pro. 15(a)(2), a court should freely give a party leave to

amend its pleading when justice requires. See Fed. R. Civ. P. 15(a)(2).

          5.    “Rule 15(a) declares that leave to amend ‘shall be freely given when justice so

requires’; this mandate is to be heeded. If the underlying facts or circumstances relied upon by a

plaintiff may be a proper subject of relief, he ought to be afforded an opportunity to test his claim

on the merits.’” Foman v. Davis, 371 U.S. 178, 182 (1962).

          6.    A District Court may deny a motion to amend where there is “undue delay, bad

faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party by virtue of allowance of

the amendment, futility of amended, etc.” Id.

          7.    Justice would be served if Plaintiff is granted leave to amend his Complaint as it

would allow Plaintiff the opportunity to seek relief for his alleged injuries based on the underlying

facts.

          8.    Plaintiff’s Motion for Leave to Amend is not brought for purposes of causing undue

delay, nor is it the result of bad faith or other dilatory motive. Plaintiff’s Motion for Leave to

Amend is designed to address the purported deficiencies proffered by Defendant. This is Plaintiff’s

first request to amend his Complaint and Defendant will not suffer any prejudice as a result of the

amendment.

          WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter an order

granting Plaintiff leave to file his First Amended Complaint.

Dated December 17, 2019                               Respectfully submitted,

                                                      /s/ Nathan C. Volheim

                                                      Nathan C. Volheim Esq. #6302103

                                                 2
     Case 7:19-cv-00373 Document 11 Filed on 12/17/19 in TXSD Page 3 of 3



                                                    Admitted in the Southern District of Texas
                                                    Sulaiman Law Group, Ltd.
                                                    2500 S. Highland Avenue, Suite 200
                                                    Lombard, Illinois 60148
                                                    Phone (630) 575-8181 x113
                                                    Fax: (630) 575-8188
                                                    nvolheim@sulaimanlaw.com

                                                    Counsel for Plaintiff


                             CERTIFICATE OF CONFERENCE

        Plaintiff’s counsel was unable to confer with Defendant’s counsel about the relief sought
in the foregoing motion as Defendant has not entered this case.

                                CERTIFICATE OF SERVICE

       The undersigned, one of the attorneys for Plaintiff, certifies that December 17, 2019, he
caused a copy of the foregoing Plaintiff’s Motion for Leave to File First Amended Complaint, to
be served by U.S. Certified mail and electronic mail on:

                              Diversified Adjustment Service, Inc.
                                 600 Coon Rapids Boulevard
                                   Minneapolis, MN 55433


                                                    /s/ Nathan C. Volheim

                                                    Nathan C. Volheim
                                                    Sulaiman Law Group, Ltd.
                                                    2500 S. Highland Avenue, Suite 200
                                                    Lombard, Illinois 60148
                                                    Phone (630) 575-8181 x113
                                                    Fax: (630) 575-8188
                                                    nvolheim@sulaimanlaw.com

                                                    Counsel for Plaintiff




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